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                    IN THE UNITED STATES DISTRICT COURT FOR THE

                       DISTRICT OF UTAH, NORTHERN DIVISION


 JANE DOE 1                                        WITHDRAWAL OF PLAINTIFF’S
                                                   MOTION FOR LEAVE TO FILE THIRD
         Plaintiff,                                AMENDED COMPLAINT and
                                                   PROPOSED THIRD AMENDED
 vs.                                               COMPLAINT [DKT 65 and 66]

 OGDEN CITY SCHOOL DISTRICT,                       Case No. 1:20-cv-00048-HCN-DAO

         Defendant.                                Judge Howard C. Nielson, Jr.

                                                   Magistrate Judge Daphne A. Oberg




        Plaintiff, by and through her undersigned counsel, respectfully withdraws her Motion for

Leave to File Third Amended Complaint and Proposed Third Amended Complaint [DKT 65 and

66].




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        DATED this 7th day of September, 2022.

                                                 PARSONS BEHLE & LATIMER

                                                 /s/ Michael W. Young
                                                 Michael W. Young
                                                 Lauren Hunt
                                                 Attorneys for Plaintiff




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                                   CERTIFICATE OF SERVICE

        I hereby certify that on September 7, 2022, I caused a true and correct copy of the foregoing

to be filed using the Court’s electronic filing system, which effectuated service of such filing upon

all counsel of record:

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